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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION

     MSR MEDIA SKN LTD., MSR
     HOTELS & CO. LTD., MSR MEDIA
     INTERNATIONAL LLC, and
     PHILIPPE MARTINEZ,
                                                Case No. 8:24-cv-01248-KKM-AAS
            Plaintiffs,

     V.

     LESLIE KHAN, CARIBBEAN
     GALAXY REAL ESTATE CORP.,
     CARIBBEAN GALAXY REAL
     ESTATE LTD., YING IIN,
     TIMOTHY HARRIS, DENZH,
     DOUGLAS, CARIB TRUST LTD.,
     FARON LAWRENCE, ST. KITTS-
     NEVIS-ANGUILLA NATIONAL
     BANK LTD., and MC CLAUDE
     EMMANUEL,

            Defendants.


                         DR. DENZIL DOUGLAS' AFFIDAVIT
                      IN SUPPORT OF HIS MOTION TO DISMISS


     I, The Right Hon. Dr. Denzil Llewellyn Douglas, MB, BS, hereby depose and state

     as follows

     1.    I am a citizen of Saint Kitts and Nevis, a sovereign dual-island nation located

           in the West Indies.

     2.    I am a life-long resident of Saint Kitts and Nevis.
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    3.     I am currently the Minister of Foreign Affairs within the Federal

           Government of Saint Kitts and Nevis. 1 have held this position since August

           15, 2022.

     4.    From July 1995 to February 2015, 1 served as the Prime Minister for the

           Federation of Saint Kitts and Nevis.

     5.    The Prime Minister is the head of Government for the Federation of St. Kitts

           and Nevis.

    6.     After my term as Prime Minister concluded and until August 2022, I was

           the leader of the opposition in the Federal Parliament of Saint Kitts and

           Nevis.

     7.    1 have never resided in the United States.

     8.    While I was the opposition leader, I made no trips to the United States.

     9.    I do not own property in the United States.

     10.   1 have no bank accounts located in the United States.

     11.   I do not engage in or carry on any business venture in the United States nor

           do I maintain an office in Florida or elsewhere in the United States.

     12.   To the extent I have discussed the Saint Kitts and Nevis Citizenship by

           Investment Programme whilst in the United States, I have done so only in

           my official capacity on behalf of the Government of Saint Kitts and Nevis.




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    I declare under penalty of perjury under the laws of the United States of America

    that the foregoing is true and correct.


    Executed on this 31" day of October, 2024.




    The Right Hon. Dr. DenziJ eSellyn Douglas, MB, BS




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